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 Fill in this information to identify your case:
 Debtor 1           Ricky                 Ford                   Friery
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1       Ricky Ford Friery                                                         Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,             $5,832.67       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $33,033.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $124,626.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Describe below.             from each source     Describe below.            from each source
                                                                              (before deductions                              (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                       IRA distributions                  $87,236.00
(January 1 to December 31, 2017 )                 Rental income                      $23,153.00
                                YYYY



For the calendar year before that:                IRA distributions                  $29,950.00
(January 1 to December 31, 2016 )                 Rental income                      $28,540.00
                                YYYY              Rollover                           $17,658.00




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Ricky Ford Friery                                                           Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




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Debtor 1       Ricky Ford Friery                                                             Case number (if known)

 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                               Nature of the case                           Court or agency                               Status of the case
Bank of America v Bendco Inc.            Suit on guaranty                             133rd Judicial District Ct, Harris Co,
                                                                                                                                              Pending
etal                                                                                  TX
                                                                                      Court Name                                              On appeal
                                                                                      201 Caroline
Case number 201-23396                                                                 Number     Street                                       Concluded


                                                                                      Houston                    TX      77002
                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Knight Capital Funding v                 Enforcement of foreign judgment              County Court at Law #2, Harris Co, TX
                                                                                                                                              Pending
Bendco etal                                                                           Court Name
                                                                                      201 Caroline                                            On appeal
                                                                                      Number     Street
Case number 1105054                                                                                                                           Concluded

                                                                                      Houston                    TX      77002
                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Knight Capital Funding v                 Breach of contract; guaranty                 11th Judicial Circuit Ct, Miani-Dade Co,
                                                                                                                                              Pending
Bendco etal                              Judgment                                     FL
                                                                                      Court Name                                              On appeal
                                                                                      73 W. Flagler St.
Case number 17-016                                                                    Number     Street                                       Concluded


                                                                                      Miami                      FL      33130
                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Susquehanna Finance v Ricky              Enforcement of foreign judgment              County Court at Law #2, Tarrant Co, TX
                                                                                                                                              Pending
Friery                                                                                Court Name
                                                                                      100 N. Calhoun St.                                      On appeal
                                                                                      Number     Street
Case number 2017-004396-2                                                                                                                     Concluded

                                                                                      Ft. Worth                  TX      76196
                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Susequehanna Finance v. Ricky Suit on guaranty                                        Ct. of Common Pleas Lancaster Co,
                                                                                                                                              Pending
Friery                                                                                PA
                                                                                      Court Name                                              On appeal

Case number 17-04653                                                                  Number     Street                                       Concluded



                                                                                      City                       State   ZIP Code




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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Debtor 1         Ricky Ford Friery                                                             Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date          Value of the property
Glenda Marie Venable                                            707 Houston Ave., Pasadena, Harris                08/01/2017       $157,000.00
Creditor's Name                                                 County,TX
c/o Jim G. Fox, Esq.
Number     Street                                               Explain what happened
5033 College Park Dr.                                              Property was repossessed.
                                                                   Property was foreclosed.
Deer Park                              TX         77536            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1       Ricky Ford Friery                                                            Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Fuqua & Associates, PC                                                                                          or transfer was      payment
Person Who Was Paid                                                                                             made

5005 Riverway                                                                                                       2/21/2018           $2,335.00
Number      Street

Suite 250                                                                                                           6/28/2018           $2,500.00

Houston                       TX       77056
City                          State    ZIP Code

RLFuqua@FuquaLegal.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Gay Buick GMC                                        property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         Traded in 2015 GMC Denali for           $32,463.56 Loan payoff to Shell             11/04/2017
3033 Gulf Fwy                                        2017 GMC Yukon                          Federal Credit Union
Number      Street                                   Trade In Value: $42,000.



Dickinson                     TX       77539
City                          State    ZIP Code

Person's relationship to you None




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        Ricky Ford Friery                                                          Case number (if known)

                                                      Description and value of any           Describe any property or payments         Date transfer
Resolution Finance, LLC                               property transferred                   received or debts paid in exchange        was made
Person Who Received Transfer                          Security interest in 2407              Property tax loan in exchange               May 2017
13612 Midway Rd.                                      Intrepid Way, League City, TX          for security interest in property
Number      Street                                                                           Loan amount: $9,126.96
Suite 394

Dallas                          TX      75244
City                            State   ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Amegy Bank
Name of Financial Institution
                                                      XXXX- 7       8    8   5         Checking                    May 2018             $125.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Bank of America
Name of Financial Institution
                                                      XXXX-                            Checking                    April 2018           $236.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1        Ricky Ford Friery                                                                   Case number (if known)

                                                           Last 4 digits of account       Type of account or          Date account     Last balance
                                                           number                         instrument                  was closed,      before closing
                                                                                                                      sold, moved,     or transfer
                                                                                                                      or transferred
Bank of America
Name of Financial Institution
                                                           XXXX- 6      6    4      1            Checking                April 2018         $0.00
                                                                                                 Savings
Number      Street
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other

City                             State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

                                                    Who else had access to it?                       Describe the contents                Do you still
                                                                                                                                          have it?

Chase Bank                                          N/A                                              None                                     No
Name of Financial Institution                       Name                                                                                      Yes
1102 E. Southmore Ave.
Number      Street                                  Number     Street




Pasadena                    TX      77502
City                        State   ZIP Code        City                    State     ZIP Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                    Who else has or had access to it?                Describe the contents                Do you still
                                                                                                                                          have it?

The Red Shed                                        Ricky Friery, Jr.                                Furniture & boxes                        No
Name of Storage Facility                            Name                                                                                      Yes
1800 Larrabee, Unit 30                              801 Houston Ave.
Number      Street                                  Number     Street




Seabrook                    TX      77586           Pasadena                TX        77502
City                        State   ZIP Code        City                    State     ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 8
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Debtor 1       Ricky Ford Friery                                                       Case number (if known)

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 9
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Debtor 1       Ricky Ford Friery                                                               Case number (if known)

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Bendco, Inc., Chapter 11 Debtor                  Pipe bending                                        Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 7     6 – 0         2    2    3   3    5     5
801 Houston Ave.                                 Name of accountant or bookkeeper
Number     Street
                                                 DRDA                                                Dates business existed

                                                                                                     From        2007             To   present
Pasadena                  TX      77502
City                      State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
707 Houston Avenue LLC                           Real estate holding                                 Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
801 Houston Ave.                                 Name of accountant or bookkeeper
Number     Street
                                                 Debtor                                              Dates business existed

                                                                                                     From                         To    2017
Pasadena                  TX      77502
City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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Debtor 1     Ricky Ford Friery                                                      Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Ricky Ford Friery                               X
   Ricky Ford Friery, Debtor 1                            Signature of Debtor 2

   Date     06/28/2018                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 11
